                  Case 4:19-cr-40033-LLP Document 46 Filed 11/18/19 Page 1 of 1 PageID #: 216
DSD Rev. 09/17




                                                    UNITED STATES DISTRICT COURT
                                                                         DISTRICT OF SOUTH DAKOTA
                                                                                       Southern Division

                      United States of America                                                                           EXHIBIT LIST
                                           V.
    Calvin W. Pelichet a/k/a Calvin W. Pellichet                                                                          Case Number: 4:19-cr-40033-01

  PRESIDING JUDGE                                                       PLAINTIFF’S ATTORNEY                                    DEFENDANT’S ATTORNEY
   Lawrence L. Piersol, United States District                                           Jeremy Jehangiri                                        Clint Sargent
  TRIAL DATE (S)
                    J d                                                 COURT REPORTER                                          COURTROOM DEPUTY
                     November 18, 2019                                                      Jill Connelly                                           SLW
  PLF.      DEF.       COURT             DATE
                                                           ADMITTED                                                    DESCRIPTION OF EXHIBITS
  NO.       NO.         NO.             OFFERED

              1                        11/18/19                  X           Rigby letter




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* Include a notation as to the location of any exhibit not held with the case file or not available because of size.
